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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                          §
                                                §                Case No. 25-90138
Geden Holdings, Ltd.                            §
                                                §                Chapter 15
         Debtor in a Foreign Proceeding         §

                                  CERTIFICATE OF SERVICE

         I hereby certify that true and correct copies of the following documents were served: (i)

on April 29, 2025 via the Court’s CM/ECF system on any party having appeared and requested

notice in the Chapter 15 Case at the time of filing of the pleadings; (ii) on April 29, 2025 via

email, where available, to the persons and entities identified in the service list attached hereto as

Exhibit A; and (iii) on April 29, 2025 via United States Mail, or International Mail, as

applicable, postage prepaid, to the persons and entities identified in the service list attached

hereto as Exhibit B.

         1.       Debtor’s Emergency Motion to Apply Complex Case Procedures to Chapter 15
                  Case [ECF # 3];

         2.       Debtor’s Emergency Motion for Entry of an Order (I) Granting Emergency
                  Provisional Relief for Issuance of the Automatic Stay, and (II) Related Relief
                  [ECF # 4];

         3.       Debtor’s Emergency Motion for Entry of an Order (I) Scheduling Recognition
                  Hearing and (II) Specifying Form and Manner of Service of Notice [ECF # 5];
                  and

         4.       Declaration of Foreign Representative Pursuant to 11 U.S.C. § 115 and Rule
                  1007(A)(4) of the Federal Rules of Bankruptcy Procedure and in Support of
                  Verified Petition for (I) Recognition of Foreign Main Proceeding, (II)
                  Recognition of Foreign Representative (III) Emergency Provisional Relief for
                  Issuance of the Automatic Stay, and (IV) Related Relief Under Chapter 15 of the
                  Bankruptcy Code [ECF # 6].
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Respectfully submitted this 29th day of April, 2025.

                                            OKIN ADAMS BARTLETT CURRY LLP

                                            By:          /s/ Kelley K. Edwards
                                                       Matthew S. Okin
                                                       Texas Bar No. 00784695
                                                       mokin@okinadams.com
                                                       Edward A. Clarkson
                                                       Texas Bar No. 24059118
                                                       eclarkson@okinadams.com
                                                       Kelley K. Edwards
                                                       Texas Bar No. 24129017
                                                       kedwards@okinadams.com
                                                       1113 Vine St., Suite 240
                                                       Houston, Texas 77002
                                                       Tel: 713.228.4100
                                                       Fax: 346.247.7158

                                            ATTORNEYS FOR THE FOREIGN
                                            REPRESENTATIVE




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